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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO



  SHAAKIRRAH R. SANDERS,

           Plaintiff,

  vs.

  THE UNIVERSITY OF IDAHO, a public                    FOURTH AMENDED COMPLAINT
  university governed by the BOARD OF                       (JURY DEMANDED)
  REGENTS OF THE UNIVERSITY OF
  IDAHO aka the STATE BOARD OF                             Civil No. 3:19-CV-00225-BLW
  EDUCATION, an executive department of                            Judge Winmill
  the STATE OF IDAHO, and MARK
  ADAMS, former Dean of the College of
  Law, in his official and individual capacity,
  and JERROLD LONG, interim Dean, in
  his official and individual capacity

          Defendants.



        Plaintiff (“Professor Sanders”), by and through her attorneys, hereby complains against the

Regents of the University of Idaho (“University”), a public university governed by the State Board

of Education also known as the Board of Regents of the University of Idaho, a constitutional



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corporate body, former Dean Mark Adams, (“Dean Adams”) and former Interim Dean Jerrold

Long (“Dean Long”) (collectively, “Defendants”) as follows:

                             I.       NATURE OF THE CLAIMS

       1.      This suit is brought by a black female law professor who has been subjected to race

and gender discrimination and retaliation by Defendants in violation of: Title VII of the Civil

Rights Act of 1964, as amended and codified at 42 U.S.C. § 2000e, et seq. (“Title VII”); Title IX,

20 U.S.C. § 1681 et seq. (“Title IX”); and under 42 U.S.C. § 1983 (“§ 1983”) for violating her

rights under the Equal Protection clause of the United States Constitution. Defendant Long also

violated Plaintiff’s academic freedom in violation of the Constitution of the University Faculty,

University policies on academic freedom and shared governance, and the Amended and Restated

Bylaws, Procedures and Rules of the University of Idaho college of Law.

       2.      Plaintiff seeks all available remedies including damages, attorneys’ fees, costs, and

interest, and compensatory damages.

                                        II.     PARTIES

       3.      Professor Sanders resides in the State of Idaho, Ada County, and is and was

employed by the University at all times relevant to the allegations in this Complaint.

       4.      Defendant the Regents of the University of Idaho, is an educational institution

under the governance of the State Board of Education, an executive department of the State of

Idaho pursuant to Idaho Code § 33-101 and a constitutional corporation pursuant to Title IX

Section 10 of the Idaho State Constitution. At all times relevant to this Complaint, this Defendant

was an employer pursuant to the pertinent laws and received federal financial assistance.

       5.      Defendant Mark Adams served as the Dean of the University of Idaho College of

Law (“College of Law”) from June of 2014 until approximately June of 2018. He is being sued in



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his official and individual capacity and either made or ratified employment decisions that impacted

Professor Sanders.

       6.       Defendant Jerrold Long served as the interim Dean of the College of Law, having

taken that role over after Dean Adams stepped down until approximately May 14, 2021. He is

being sued in his official and individual capacity and either made, recommended or ratified

employment decisions that impacted Professor Sanders.

                             III.     JURISDICTION AND VENUE

       7.       This Court has original jurisdiction under the provisions of 28 U.S.C. § 1331 with

respect to Plaintiff’s claims arising under federal law. The Court has supplemental jurisdiction

over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

       8.       Venue is proper with this Court as the Defendants’ business is within the

jurisdiction of the Court and the alleged illegal conduct that occurred was within the jurisdiction

of the Court.

       9.       With regard to the claims arising under Title VII, Professor Sanders has complied

with the administrative requirements set forth in 42 U.S.C. § 2000e-5. Professor Sanders filed a

Charge of Discrimination with the EEOC, received a right to sue notice, and has filed this

Complaint within the 90 days.

                                IV.     GENERAL ALLEGATIONS

       10.      Professor Sanders graduated from Loyola University New Orleans College of Law

in 2001. Her legal career has included serving as a federal court law clerk at the district court and

appellate court levels, working for private law firms as an associate, working as a public defender,

and eventually entering into legal academia.




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       11.     After serving as a visiting professor at Seattle University School of Law, Professor

Sanders was hired by the University of Idaho College of Law as a tenure track associate professor

in June of 2011. She earned tenure in 2016 and became the first African-American and second

person of color to achieve the rank of full professor at the College of Law in 2018.

       12.     Professor Sanders focuses her teaching and research in areas of criminal procedure,

the First Amendment, and torts. She has published scholarship in various law reviews/journals and

has contributed to and/or edited various publications and collections. For example, she has recent

publications regarding tort law (Cambridge University Press) and First Amendment law (Cornell

Law Review).

       13.     Professor Sanders is regularly invited to speak at colloquium, symposium and legal

conferences. She has developed a nationally recognized reputation in her area of academic

expertise and has appeared in or contributed to news stories in The New York Times, Washington

Press, Associated Press, and Al Jazeera America among others. She has appeared on local and

regional television and radio news programs.

       14.     Professor Sanders has also taken on various service-oriented special assignments

and leadership positions for the College of Law and the University. During the 2016-18 academic

years, she served as Chair of the University’s Administrative Hearing Board. She co-coached the

National Moot Court competition teams the fall semesters of the 2013-16 academic years, and in

2017, she organized the regional National Moot Court Competition in Boise. She served as faculty

advisor for the Idaho Critical Legal Studies Journal during the 2014-18 academic years, and, in

the spring semesters of 2017-18 academic years, she helped students plan symposiums. In addition,

Professor Sanders was a member of the College’s Admissions Committee from 2014-17, and the

only faculty member to serve on that committee from the Boise campus during that time.



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        15.     Professor Sanders also serves in various law-related leadership positions outside of

the University. For example, she serves as Chair of the Idaho State Advisory Committee to the

U.S. Commission on Civil Rights; she has been an officer and will serve as President (2019-20)

for the Richard C. Fields Inn of Court; she has and continues to hold leadership positions within

the American Association of Law Schools. She is on the Board of Directors of the Idaho American

Civil Liberties Union and the Idaho Black History Museum.

        16.     In June of 2014, nearly three (3) years after her hire at the University, Mark Adams

became the new Dean of the College of Law. At the time, there were approximately three

professors of color, of which two were female. As of the 2018-2019 academic year, Professor

Sanders is the second female professor of color who has the rank of full professor.

        17.     In July of 2014, Dean Adams informed Professor Sanders that he intended to

change her teaching package for the 2014-2015 academic year, such that Professor Sanders would

be teaching 13 credit hours as opposed to the expected 12 credits per semester. Professor Sanders

agreed to the additional credit based on the needs of the College but also inquired as to additional

compensation or a future course release. Importantly, 2014-2015 year was the year prior to when

Professor Sanders qualified to apply for tenure. As a result, it was a critical year for her to work

on completing her tenure application and its requirements.

        18.     Dean Adams told Professor Sanders that he could not offer additional compensation

or course release for a one-credit overload. However, Professor Sanders was aware of another

white professor who was promised a future course release based on a one-credit overload for the

same academic year. When she questioned Dean Adams about this, he confirmed that she was

correct but explained that the overload of the other professor was “different” such that in his view,

it “justif[ied] the release.”



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       19.     This was the beginning of a pattern of disparate terms and conditions of

employment that Defendants subjected Professor Sanders to at the College of Law. As further

described below, she raised concerns about this disparate treatment and the lack of clear and

objective criteria for making decisions that negatively impacted her as a woman of color.

Unfortunately, instead of addressing her concerns, the College chose to retaliate against Professor

Sanders.

       20.     For example, in February of 2015, Professor Sanders learned that her teaching load

for the 2015-2016 academic year would include an additional credit hour, and that there would be

no release credit provided to her despite the fact that release credits had been or were being

provided to others. Additionally, 2015-2016 was the year when Professor Sanders would apply

for tenure, putting her on similarly-situated terms with the white female colleague who was

promised a future course release based on a one-credit overload in the fall of 2014. So, for two

years in a row, the College of Law proposed to assign Professor Sanders to teaching packages that

resulted in credit overloads and proposed to deny to Professor Sanders the same or similar type of

compensation or course release as provided to those who also taught an overload.

       21.     In communicating with Dean Adams and Associate Dean Richard Seamon about

this issue, Professor Sanders pointed out how the lack of neutral criteria to assign and assess faculty

workloads led to results lacking in fundamental fairness. She also clearly told them that the

justifications provided insufficiently explained the different treatment between similarly-situated

faculty members. Professor Sanders also explained her concern that these decisions reflected a bias

that was being ignored by the leaders.

       22.     Less than 24-hours later, Professor Sanders was told that instead of teaching

Constitutional Law I, she would be assigned to teach her normal package of 12 credits. It was clear



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from the communication from the Deans that this change was not provided in recognition that the

original assignment was inappropriate or unfair. Instead, Professor Sanders’ concerns were

challenged. The Deans wrote that Professor Sanders actually had not been keeping pace with her

colleagues during her first three years of teaching. This allegation was not factually correct,

something Professor Sanders explained to both Dean Adams and Associate Dean Seamon. She

reiterated that she just wanted to be treated the same as her similarly-situated junior colleagues.

Professor Sanders also told them that she was willing and happy to teach Constitutional Law I but

believed that a course release or other compensation was appropriate. Dean Adams made clear in

response that she would not be teaching Constitutional Law I.

       23.     Further, except for disagreeing with Professor Sanders’ articulated concerns about

discrimination, the Deans did not address or forward her complaint for any investigation. Instead,

she was chastised for not complaining “forthrightly” enough and challenged to make a written

complaint to the University-wide Office of Human Rights Access and Inclusion.

       24.     Unfortunately, this was not the end of the College’s interference with Professor

Sanders’ teaching-package assignments. She was again initially passed over for assignment of

Constitutional Law I in the following year (2016-17) despite the fact that she had taught

Constitutional Law I before and she had expressed the willingness and desire to teach that course

again. Additionally, Constitutional Law I was a class in her area of academic research. That course

was first offered to a white professor with less seniority, who had not taught the class, did not have

scholarship in that area, and did not want to teach it. Similarly, the University then reassigned the

First Amendment class from Professor Sanders to a white, male visiting professor, who had not

taught the subject and who was allowed to teach it remotely from Moscow, something Professor

Sanders had been told she was not allowed to do. Then, Advanced Criminal Procedure, also in her



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area of academic research, was removed from her teaching package for 2017-18 without any

discussion regarding the same and provided to a white professor with less tenure and experience.

       25.     Professor Sanders continued to raise concerns about these assignments and to

request clarity on the criteria used in making decisions. Dean Adams chastised her for doing so,

telling her that her “continue efforts to get what you want with little concern for the impact of [sic]

the effect of any changes on your colleagues or the College sows bad feelings and distrust by

continuing to spread a false narrative.”

       26.     The College also subjected Professor Sanders to other disparate terms and

conditions of employment such as: denying her work related travel requests; accusing her of being

dishonest about attendance to conferences; taking away travel funds; assigning her an office that

was segregated from other faculty; delaying her sabbatical by one year; assigning her to less

attractive committees; denying her reimbursement for travel; questioning the use of the p-card on

her behalf; focusing on negative versus positive feedback in her student reviews (including an

obviously racially-tinged comment from a student that said, “STOP HIRING BASED ON

AFFIRMATIVE ACTION”).

       27.     In May of 2017, the College had a faculty retreat. During this retreat, faculty were

told that the College was creating two (2) Associate Dean of Faculty Development positions – one

in Moscow and one in Boise. During the retreat, Professor Sanders expressed concern about the

lack of female leadership within the College and asked Dean Adams how he planned to make sure

there was gender representation in the College of Law leadership. Dean Adams was extremely

dismissive of Professor Sanders and her concerns to the point that several faculty members

expressed dismay at his treatment of her afterwards.




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       28.     On May 23, 2017, Professor Sanders emailed Dean Adams to let him know that she

wanted to be considered for the Associate Dean position and that she was willing to delay her

sabbatical planned for 2018-19 for another year so that she could serve in that position for two

academic years.

       29.     On June 7, 2017, Dean Adams sent out a document that set forth the qualifications

for the Associate Dean positions which included the following: that the candidate be tenured or

tenure-tracked, preferably tenured full professor, and a two-year commitment preferred. Professor

Sanders met the listed qualifications as she was a tenured professor up for full professor in 2018

and willing to commit to two years.

       30.     Upon information and belief, Dean Adams approached several white and/or male

professors about serving in the Associate Dean position in Boise. Dean Adams did not approach

Professor Sanders despite her earlier email.

       31.     On June 26, 2017, Dean Adams sent an email faculty wide indicating that one

individual in each location had expressed a willingness to serve as the Associate Dean. Both

individuals were white men. The individual selected for the Boise associate deanship was a not

tenured track professor and was set to retire as of December 2018. Thus, the email indicated that

he would only serve in that position for one, instead of two years.

       32.     On June 29, 2017, Professor Sanders responded to the announcement of the two

men selected for Associate Dean positions by making a point that this selection meant all of the

College of Law Deans were men. In response, several other faculty members also expressed

concerns about the lack of female leadership.

       33.     On July 6, 2017, Dean Adams send out another faculty wide email. He admitted

that he had discussed the associate dean positions with many faculty -- female and male. However,



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he had not, in fact, discussed the position with Professor Sanders, the only female professor of

color, and someone who had explicitly expressed interest.

       34.     Dean Adams also not so subtly called Professor Sanders out for her concern about

the gender disparity noted above by saying that he hoped faculty could refrain from the “insidious

gossip and efforts to ‘stir things up’ that lead to a toxic atmosphere and discourage people from

serving.”

       35.     After the July 6, 2017 email, Professor Sanders requested an in-person meeting with

Dean Adams. When he asked the purpose of the meeting request, she explained that she would

like a formal explanation of why she was not chosen for the Associate Dean position.

       36.     During a meeting with Dean Adams on October 31, 2017, in which he also invited

the new Associate Dean who had been selected instead of Professor Sanders, she asked why she

was not considered and for any insight on what she could do to be a successful candidate in the

future. Dean Adams told Professor Sanders that there were three reasons she was not considered:

1) he did not believe she was serious; 2) her committee service was not strong enough; 3) he did

not want to interrupt her sabbatical plans.

       37.     In early February 2018, University Human Resources initiated a “climate review”

of the College of Law. This review was allegedly the result of multiple complaints brought to

leadership. Upon information and belief, several dozen faculty and staff were interviewed.

Professor Sanders was interviewed in March of 2018. During her interview, she raised concerns

about gender and racial equity.

       38.     In February 2018, Dean Adams also announced that another white, male professor

was selected to become the Boise Associate Dean for the following academic year (i.e., 6 months

later). Notably, this white male professor was hired at the same time as Professor Sanders and was



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on sabbatical at the time the announcement was made. As was the case in 2017, Dean Adams chose

not to discuss this position with Professor Sanders despite the fact that he knew she was interested.

        39.     In April of 2018, Professor Sanders applied for a summer stipend to support her

academic scholarship. In the past, qualifying professors had been provided with a stipend with

priority going to those who had not yet attained full professor status. Professor Sanders had

received a stipend in 2016 but taught summer school in 2017 and hence did not apply for a stipend

in that year.

        40.     The criteria for awarding the stipends included: years of service, project proposed

(i.e., extraordinary effort listed as two law review length articles, or one article plus work on a

casebook, etc.); and service to the college (including, notably, serving as an Associate Dean).

        41.     Professor Sanders’ application indicated that she expected to author two full-length

law review articles and a book chapter. She also planned to present a two-hour CLE at the Idaho

State Bar’s Annual Meeting, and outlined additional work that was planned for the summer.

Professor Sanders also outlined her College and University service which was substantial in the

2017-2018 years.

        42.     Professor Sanders was informed via a group email in May 2018 that she was not

among those selected for the stipend. Two professors who started the same time as her and were

of equal rank, both white men, were granted stipends.

        43.     Professor Sanders asked Dean Adams for an explanation on why she was not

granted a stipend. Dean Adams said that first priority is given to junior faculty and that the other

priority is given to those will a heavy service load, like the Associate Dean position that she was

passed over for. However, there were several tenured full professors, white and/or white and male,

who received the stipend and who did not serve in those positions. When Professor Sanders raised



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some of these points, Dean Adams told her that because she was raising issues of pay disparity

and disparate impact he would not be responding further via email. Professor Sanders then asked

how her concern would be addressed if not via email. There was no further response from Dean

Adams on this topic.

       44.     On June 8, 2018, it was announced that Dean Adams was stepping down as Dean

and would go back to being a regular faculty member.

       45.     An Executive Summary of the climate and culture review of the College of Law,

dated September 20, 2018, documented that leadership was aware of multiple complaints including

concerns of “disrespectful, uncivil and abusive communication, gender bias and/or sex

discrimination, poor leadership, lack of transparency in process, a perception of favoritism in the

allocation of resources and poor morale amongst staff and faculty members.” The Executive

Summary noted that the review had been sent to John Wiencek, Provost & Executive Vice

President in April of 2018.

       46.     The Executive Summary documented a perception that “racial diversity is not

highly valued by the College of Law administration and faculty body,” and gender bias specific to

communication issues and lack of female or diverse senior leadership within the College. Despite

recognizing the assertions of racial/gender bias, human resources divested itself of the “purview .

. . to make an overall judgment on,” and instead referenced referring those issues to the Office of

Civil Rights and Investigations “as appropriate.”

       47.     In November of 2018 the Executive Summary was shared with the College of Law

faculty by Interim Dean Jerry Long (“Dean Long” or “interim Dean”) along with a cover letter

from Dean Long. The cover letter was characterized by him as “a ‘moving forward’ document,”

and listed out goals or ideals the College might have moving forward. This letter contained no



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recognition of any issues with racial or gender disparities or biases and instead focused largely on

the divisions between the two campuses – Boise and Moscow. The goals and ideals did not include

any racial or gender diversity or anti-discrimination topics.

       48.     During a faculty meeting on November 14, 2018 regarding this same topic, there

was only minimal discussion of the race/gender concerns, which were presented as “perceptions”

versus realities. Dean Long essentially told Faculty that they needed to take those issues to the

University’s Office of Civil Rights and Investigations.

       49.     Additionally, during the 2017 faculty retreat and thereafter, Professor Sanders and

others were led to believe that the College was working on hiring a consultant who would review

and perhaps train the College on race, gender and perhaps other diversity issues. Just prior to this

November 2018 faculty meeting and thereafter, it became clear that any consultant hired would

address broader operations and culture issues, instead of a diversity consultant. The University

further noted that only after working through the climate and culture review would it determine if

further efforts on diversity might be warranted.

       50.     In other words, the University and College of Law specifically were willing to have

the diversity and discrimination concerns that clearly existed at the college take a seat at the back

of the bus until after they could sort through other concerns.

       51.     During Professor Sanders’ February 2019 performance review, the interim Dean

specifically referenced her EEOC charge on more than one occasion. He specifically told her that

his opinion was that certain incidents were the result of miscommunications rather than serious

problems. The interim Dean also specifically questioned Professor Sanders about whether she was

attempting to get a permanent job at the law school where she was serving as a visiting professor

during part of her sabbatical.



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       52.     The interim Dean made clear during the review and in his written performance

evaluation that he did not believe that Professor Sanders should have received a course release in

the spring of 2018 and that he would not grant course releases going forward except in rare

circumstances. Professor Sanders felt obligated to justify her course release, which only came

about as a result of negotiations with the University Ombudsman Barbara Beatty and then

Associate Dean Barbara Cosens. The performance review also acknowledged Professor Sanders’

interest in leadership positions within the College. The interim Dean noted that the “transition for

faculty to administration . . . requires a set of skills, attitudes, and perspectives that often aren’t

required of faculty.”

       53.     Merit raises were provided by the interim Dean in the spring of 2019. Professor

Sanders did not receive a merit increase. According to the interim Dean, he used excellence in

teaching and service to the College beyond what is normally required as his two criteria. Professor

Sanders’ February 2019 review noted that she “is an excellent teacher and scholar, and we value

her contributions to the College of Law.” Professor Sanders was on sabbatical in 2018-19 and

hence did not have service obligations that year.

       54.     In the fall of 2019, several events occurred at the law school related to concerns

about student diversity issues. Specifically, students raised concerns about racially offensive

remarks at the College of Law.

       55.     This topic was discussed amongst the faculty and staff via emails and during a

diversity committee meeting on October 7, 2019.

       56.     Former U.S. Secretary of the Interior Ken Salazar spoke to the public as part of the

University sponsored Bellwood Lecture in late October 2019. During a question and answer




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session, a law student asked whether we should consider culling or genocide as a solution to

climate change.

       57.     This led to additional discussions amongst the students, and amongst faculty and

staff regarding the appropriate way to address the student’s question/comment, which was

unquestionably offensive to some on racial, ethnic, religious and national origin grounds.

       58.     For example, in emails amongst faculty and staff one professor said she was

“ashamed” of the question and that she could hear gasps in the audience. Another professor said

that she could not “take talk about ‘culling’ humans lightly,” and suggested that the student:

               should at least be made aware that his language was interpreted by some as
               suggesting genocide, or something akin to genocide, as a means of addressing
               climate change. It seems to me that it would be a disservice not to tell the student
               about how his question was being heard . . . . I am happy to talk to students about
               my experience working with genocide survivors in Africa and Asia and about the
               role of language in inciting genocidal actions.

       59.     Dean Long responded to the faculty and staff on October 24, 2019 with his own

email that stated, among other things that:

               The student might have wanted to be intentionally shocking, by suggesting that
               unless real changes are made, reducing our population will be the only remaining
               option. This is a legitimate point to make. Carrying capacity is a critical component
               of any ecological system. . . . The Sierra Club once had a zero immigration policy
               . . . . This also is a perfectly legitimate argument . . . . It is the very purpose of the
               Bellwood Lectures to engage in difficult conversations, conversations that matter,
               and conversations that a times might make us uncomfortable. Our goal must be to
               help our students learn how to navigate those difficulties.

       60.     Dean Long then sent a college wide email to all faculty staff and students

expressing appreciation for a successful Bellwood Lecture and mentioned how Mr. Salazar left

“thoroughly impressed with this College and our community.” His email did not raise the issue

about any of the concerns voiced regarding the student’s comment.




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       61.     Another professor and former Associate Dean then supported the call that “[o]ur

job as faculty is to pick that student up, explain to them the importance of words and the horrific

history their term raised (both the holocaust and the treatment of Native Americans by settlers),

and have a conversation with that student about how to approach these very sensitive topics in a

respectful way – because that is their ethical duty.”

       62.     Later in the day, Dean Long sent another email, subject line: “The Bellwood

Lecture and our 1st Amendment responsibilities,” that went to all students which included, among

other comments, the following:

               Our country’s commitment to an open marketplace of ideas means that we will
               often be confronted with speech that we do not like, or even speech that is offensive
               and hurtful. Sometimes the offensive speech is intentionally so, lacking many other
               redeeming qualities. The world does have its jerks after all. . . . In your professional
               lives, you will be confronted on a regular basis with speech you find offensive, or
               with people you find distasteful. . . . Trying to silence or shout down or bully those
               bad ideas only causes them to be spoken more forcefully. . . . At this University,
               and this College, we are committed to ensuring that you have a safe place – if not
               always a comfortable place – to study and learn. If you ever feel physically
               threatened, please let us know, and we will do everything we can to address
               whatever threat exists.

       63.     A student of color reached out to Professor Sanders to express her feelings about

Dean Long’s response and agreed to allow her comments to be shared with the faculty without

being identified. The student said, among other things that:

               As a first-generation college student and a woman of color; I’ve heard egregious
               comments about my race, ethnicity, gender, etc. my whole life. To get an email
               from the Dean of the College telling students that this is just something that happens
               in life was frankly ignorant and belittling to people who have had to put up with
               this our whole lives and will continue to put up with these sort of comments. If the
               college was truly committed to creating a safe environment for every student; this
               would have been taken more seriously. . . .

       64.     Another professor shared with the faculty that a few students made similar

comments to him including asking “if this student genuinely believes in culling and genocide, what



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honestly, is to keep him from coming to school and carrying that act out himself?” This professor

expressed that several students are “legitimately afraid,” and suggested that “at minimum, a

conversation with the student is in order.”

         65.   The faculty continued to discuss these issues via email. As a result of these and

other events, Professor Sanders moderated an open forum for students to participate in and voice

their concerns and/or experiences about culture and climate issues within the law school. Professor

Sanders also invited the University’s Office of Civil Rights and Investigations to the forum.

         66.   The first open forum took place on November 14, 2019, and some students, faculty

and staff attended. Students raised concerns regarding discriminatory incidents at the law school

including issues of race, gender and disability based discrimination. Dean Long attended the

forum.

         67.   Professor Sanders reported to University President Green some of the students’

concerns, specifically reports about the use of racial slurs in the classroom. On January 9, 2020,

President Green emailed the College of Law faculty proposing a review team composed of internal

members of the University to examine the culture and climate of the law school.

         68.   A second open forum took place on January 23, 2020. Once again Professor

Sanders moderated the forum with students, faculty and staff in attendance. As was the case with

the first forum, the second forum was connected via video conference between the Boise and

Moscow campuses. Dean Long was not in attendance during this forum.

         69.   At some point during the forum, Professor Sanders and others in attendance noticed

from the video conferencing screen that it appeared that the forum was being recorded. Many

appeared to be shocked and uncomfortable. Professor Sanders inquired as to whether anyone had

consented to the recording and no one responded in the affirmative.



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       70.     No one had discussed recording with Professor Sanders to either request permission

or provide notice. Professor Sanders has participated in many, many University related meetings

including committee meetings, faculty meetings, student club meetings, and other University

sponsored public events and, to her knowledge, none of these meetings had ever been recorded

without explicit notice and consent. She was concerned that this particular forum was being

recorded and seemingly without notice or consent to any of those in attendance. Other students in

attendance also expressed their concern about the clandestine recording to Professor Sanders.

       71.     Later that day, Professor Sanders received an email from Dean Long confessing

that he had directed that the meeting be recorded but had forgotten to tell Professor Sanders.

Professor Sanders emailed Dean Long and the other Associate Deans and expressed concern about

the lack of notice or consent to record a meeting on culture and climate, “especially given the lack

of trust students in the meeting consistently express” on these issues. Professor Sanders asked a

series of questions about the recording, including how a request to record is made and considered,

and how to address the failure to notify participants or gain their consent.

       72.     Dean Long did not respond to these questions.

       73.     Instead, the following day (January 24, 2020), Dean Long sent out an email copying

all students, all faculty and all staff to explain that he had recorded the meeting but had forgotten

to inform Professor Sanders because it was a “forget-to-eat-lunch kind of day,” and he apologized

for his misstep.

       74.     Professor Sanders responded to this group email and again inquired as to whether

future meetings would be recorded, whether there was a policy on recording, and commented again

on the concern about the recording and lack of consent. She thanked the Dean in advance for




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responding to these questions, stating that “I am sure this will be a topic for discussion at our next

meeting.”

       75.     Once again, Dean Long did not respond. Later in the day, Professor Sanders sent

another email excluding students, but including the faculty, the OCRI, and the President informing

the Dean that several students had approached her about singling out the culture and climate

meetings for recording, her concerns about how that could have a chilling effect on the speech of

the participants, and again asking for responses to her questions. In this communication, Professor

Sanders also asked the Dean to attach sections of Idaho code, Idaho rules or University protocol

that supported his response.

       76.     Dean Long did not respond to this email.

       77.     A few days later, on January 31, 2020 Dean Long emailed Professor Sanders about

her upcoming performance review meeting and outlined a number of issues he intended to discuss

with her. Among, the items for discussion was her:

       use of the community list-serves, specifically student list-serves. Your recent emails have
       caused a number of our students to question what is appropriate in our profession. Your
       approach to communicating with me is having a negative effect on our climate and culture,
       and falls short of the standards of professionalism we expect of our faculty. As we
       discussed in your evaluation last year, I do want the College of Law to be a place where
       you feel valued and comfortable but these communications are harming your relationships
       with the students, your colleagues, and this entire legal community.

       78.     On February 6, 2020, Professor Sanders responded to Dean Long’s email regarding

the listed issues he previewed regarding her performance and questioned why none of the supposed

concerns had been raised with her earlier and why she had not been afforded an opportunity to

provide a response before the Dean seemingly prejudged her as guilty. Dean Long’s email and

Professor Sanders’ response, also raised issues of academic freedom regarding what topics

Professor Sanders was required to teach as part of one of her courses.



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       79.      In response to receiving Professor Sanders’ email, Dean Long postponed his

performance review meeting with Professor Sanders which was scheduled for that same day,

February 6, 2020.

       80.      After an inquiry from Professor Sanders, Dean Long finally met with Professor

Sanders regarding her performance review on February 25, 2020. During this meeting Dean Long

made several troubling remarks, including but not limited to the following:

             a. That “we are not in a space where we feel like it is working” and that things had

                become “increasingly complicated” since Professor Sanders’ return from sabbatical

                and that it was “difficult to know how to act.”

             b. That as Dean he had the discretion to dictate changes and content of courses.

             c. On several occasions, he mentioned that he was upset and disappointed that

                Professor Sanders had raised concerns about his recording of the open forum with

                the OCRI, the Provost and the President. He indicated that he would have preferred

                that she keep the recording between Dean Long and herself. Professor Sanders

                explained why she was troubled by the recording, including that she and several

                students felt unsafe after discovering the meeting was being recorded. She told

                Dean Long that she believed notice and consent was required before recording to

                which Dean Long said he had discretion to record meetings at his will.

       81.      The next day, on February 26, 2020 Professor Sanders received her written review

with an attachment. The attachment begins with the following:

                Professor Sanders has had a challenging 2019. Unfortunately, throughout the year
                it became increasingly apparent that Professor Sanders is uninterested in working
                with the College administration on many important aspects of her position
                description. This has continued in 2020, where the simple sharing of information
                in preparation for the evaluation process is met with hostility and claims of
                retaliation.


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For the first time in her career at the University, she was rated as does not meet expectations in

several categories including teaching and advising, university service and leadership, and for her

overall rating in meeting performance expectations. Dean Long also said her rating for scholarship

for the spring was to be determined despite her placement in the Cornell Law Review.

       82.     Specific to the evaluation of her teaching, Dean Long relied on the fact that

Professor Sanders “has been directed to include some coverage of the First Amendment in her

section of Constitutional Law II” but failed to do so. Dean Long opined that it was “entirely

appropriate to include the First Amendment in the required curriculum of law students . . .” and

that Professor Sanders refusal to do so is “unreasonable.” The review indicates that while

“Professor Sanders is an engaging teacher who connects with many of her students. . . she has

grown increasingly intransigent, and at times insubordinate.”

       83.     On March 3, 2020 Professor Sanders submitted a 10-page written rebuttal to Dean

Long, asking for reconsideration of her 2019 evaluation and raising concerns about retaliation and

discrimination. Professor Sanders anticipated that the Dean would respond to her rebuttal and/or

forward the same up the chain of command to the Provost for response.

       84.     Professor Sanders heard nothing in response to her rebuttal until she followed up

with an Associate Dean, who on May 11, 2020, told her that she should not expect to hear back

from Dean Long regarding the performance evaluation.

       85.     On May 20, 2020, the College Diversity and Human Rights Committee awarded

Professor Sanders the Boise faculty award and noted her “work this academic year in promoting

meaningful dialogue among faculty, staff, and students around culture and climate issues.”

       86.     On or about February 9, 2021, Defendant Long gave Professor Sanders a letter of

reprimand dated February 4, 2021 alleging that (1) she violated a policy that required her to video


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record all of her classes and share them with her students; (2) she has “poor attendance” at faculty

meetings.

       87.      On or about February 22, 2021, Defendant Long gave Professor Sanders another

negative performance evaluation, rating her as not meeting expectations in her “Teaching and

Advising,” and in her “University Service and Leadership.” His overall rating of Professor Sanders

was that she did not meet expectations.

             a. These ratings were despite her having received overwhelmingly positive student

                evaluations and comments and including positive comments about her adaptation

                to remote teaching during the COVID- 19 pandemic.

             b. Additionally, she only missed one regular faculty meeting and attended sixteen (16)

                special faculty meetings (the vast majority), and she engaged in other extensive

                service to the College and University that went ignored by Defendant Long.

             c. On March 11, 2021, Defendant Long was directed to arrange a meeting with

                Professor Sanders to discuss her second does not meet expectations evaluation as

                required pursuant to University policy. Long refused to do so.

       88.      On May 3, 2021, Professor Sanders received Notice of Investigation for allegations

made by a (now former) student that she discriminated against the student based on his race.

Although the investigators eventually found that Professor Sanders did not discriminate against

the student, a finding adopted by OCRI, the investigation report was filled with inaccuracies and

misstatements of fact. OCRI also referred the investigation report to her supervisory chain for

review of other alleged policy violations.

             a. The student who complained about Professor Sanders was not her student (i.e., he

                never took any classes from her).



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  b. In June of 2020, the administration sent a college-wide email on behalf of this same

     student about Professor Sanders and in response to an email she sent regarding the

     murder of George Floyd. This communication was harassing and offensive to

     Professor Sanders and other students of color. OCRI did not initiate an investigation

     regarding the student’s email or the administration’s decision to send it on the

     college-wide list-serve.

  c. Other complaints about this student have been raised in the past by both students

     and faculty including concerns of racist and misogynistic behavior which rose to

     the level of concerns for physical safety of students/faculty.

  d. This student was also a leader of the student chapter of the Federalist Society which

     Professor Sanders had been a long-time faculty advisor for. In March of 2021, the

     student informed Professor Sanders that it would be “inappropriate” for her to act

     as an advisor due to “what appears to be irreconcilable disagreements between [her]

     and FedSoc’s beliefs and purpose.”

          i. Professor Sanders reported her ousting to the faculty, and to the National

             office of the Federalist Society. The National office said that the

             organization recommends against applying a “jurisprudential litmus test” to

             determine the suitability of its advisors and said they would speak to the

             student.

         ii. Professor Sanders also reported the matter to OCRI.

        iii. On March 12, 2021, Defendant Long admonished her telling her that her

             communications with the student were inappropriate.




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             e. This was the second outside investigation initiated by OCRI against Professor

                Sanders.

                    i. The first investigation was initiated in September of 2020 after Professor

                       Sanders asked how to handle concerns about possible bias in hiring

                       decisions.

                   ii. Documents recently produced show that the investigation was finished in

                       December of 2020 and included findings that Professor’s Sanders’

                       questions and concerns about the hiring process were raised in good faith

                       and that it was credible that she saw potentially problematic aspects of

                       hiring discussions.

                   iii. Additionally, the investigator said it was “important to note that if

                       individuals who want to raise good faith complaints about potential

                       discriminatory practices find themselves the subject of an investigation, this

                       will likely result in a dangerous deterrent of future reporting by others who

                       are aware of potential violations of the University’s policies.”

                   iv. Professor Sanders did not receive these findings from the investigator or

                       OCRI and only received notice of the outcome of that investigation months

                       later. Specifically, on March 11, 2021, she was told that there were no

                       findings to support further investigation of any misconduct or policy

                       violations.

       89.      On or about May 12, 2021 (two days before his last day as Dean), Defendant Long

gave Professor Sanders a second letter of reprimand accusing her of failing to video record her

classes as he mandated in her first letter of reprimand. He did not discuss this issue with Professor



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Sanders prior to issuing her the reprimand, otherwise he could have discovered that his accusation

was not true. Despite this, he has refused to retract the reprimand which threatened her saying that

“further action may be forthcoming.”

       90.      On or about May 17, 2021 Professor Sanders learned that she would not receive a

pay increase for the following academic year. Professor Sanders was just one of three College

faculty not receiving a raise; the other two include a faculty who left her employment with the

University and another faculty member who was on a leave of absence.

                  FIRST THROUGH FOURTH CLAIMS FOR RELIEF
[Discrimination in the Terms and Conditions of Employment in Violation of: 1) § 1981; 2) §
                           1983; 3) Title IX; and 4) Title VII]

       91.      Plaintiff realleges and incorporates by reference all paragraphs set forth above.

       92.      The University, by and through its administrators, acted under color of law with

respect to the employment related decisions it made vis-à-vis Professor Sanders as outlined herein.

       93.      Those decisions were made and/or ratified by the Dean of the College of Law.

       94.      The University acted with deliberate indifference toward its obligation to provide a

workplace free from race and gender discrimination.

       95.      Defendants treated Professor Sanders differently because of her race and/or gender

in the terms and conditions of her employment. This includes but is not necessarily limited to:

             a. Changes to her teaching package – added course credits, removing and/or changing

                the courses she taught or requested to teach;

             b. denying her work-related travel requests;

             c. accusing her of being dishonest about attendance to conferences;

             d. assigning her to office space segregated from the other professors;

             e. taking away travel funds;



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             f. delaying her sabbatical by one year;

             g. assigning her to less attractive committees;

             h. denying her reimbursement for travel;

             i. questioning the use of the p-card on her behalf;

             j. focusing on negative versus positive feedback in her student reviews;

             k. demanding she teach certain content in her courses without regard to her academic

                freedom, and ignoring her concerns about the same as set forth below;

             l. accusing her of misdeeds, including failing to hold office hours with students,

                failing to respond to student emails, and providing the student evaluations

                selectively; chastising her for communications related to the culture and climate

                issues at the law school; and accusing her of being insubordinate;

             m. downgrading and failing to complete her 2019 performance review;

             n. providing her with another negative performance evaluation for 2020, and refusing

                to meet with her regarding the same as required by University policy;

             o. giving her two letters of reprimand;

             p. subjecting her to multiple investigations wherein OCRI hired outside investigators

                while OCRI failed to do the same regarding any of Plaintiff’s complaints about

                discrimination.

       96.      Professor Sanders has suffered and has damages such as lost compensation and

benefits and emotional harm.

       97.      Plaintiff seeks only prospective and/or injunctive relief under §1981 and §1983

against Defendants Adams and Long in their official capacity, unless other relief if permitted by

law. Plaintiff seeks all available damages including punitive damages against Defendants Adams



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and Long in their personal capacity under §1981 and §1983 as their actions were taken in reckless

disregard for Plaintiff’s civil rights.

                     FIFTH THROUGH EIGHTH CLAIMS FOR RELIEF
                    [Failure to Promote in Violation of: 5) § 1981; 6) § 1983;
                                  7) Title IX; and 8) Title VII]

        98.     Plaintiff realleges and incorporates by reference all paragraphs set forth above. The

University, by and through its administrators, acted under color of law with respect to the

employment related decisions such as the promotion decision outlined herein.

        99.     Those decisions were made and/or ratified by the Dean of the College of Law.

        100.    The University acted with deliberate indifference toward its obligation to make

employment decisions including promotions without regard to race and/or gender.

        101.    Defendants discriminated against Professor Sanders based on her race and/or

gender by failing to consider for promotion and/or promote her to the Associate Dean position in

favor of a white men.

        102.    Professor Sanders suffered and has damages such as lost compensation and benefits

and emotional distress.

        103.    Plaintiff seeks only prospective and/or injunctive relief under §1981 and §1983

against Defendants Adams and Long in their official capacity, unless other relief if permitted by

law.

        104.    Plaintiff seeks all available damages including punitive damages against

Defendants Adams and Long in their personal capacity under §1981 and §1983 as their actions

were taken in reckless disregard for Plaintiff’s civil rights.




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               NINTH THROUGH TWELFTH CLAIMS FOR RELIEF
 [Pay Discrimination in Violation of: 9) § 1981; 10) § 1983; 11) Title IX; and 12) Title VII]

       105.     Plaintiff realleges and incorporates by reference all paragraphs set forth above.

       106.     The University, by and through its administrators, acted under color of law with

respect to the employment related decisions such as the pay decisions outlined herein.

       107.     Those decisions were made and/or ratified by the Dean of the College of Law.

       108.     The University acted with deliberate indifference toward its obligation to make

employment decisions including pay decisions without regard to race and/or gender.

       109.     Defendants denied Professor Sanders a summer stipend in 2018 and a consideration

for merit increases in 2016-2022 because of her race and/or gender and race.

       110.     Professor Sanders believed it was futile to apply for a summer stipend in 2020.

       111.     Professor Sanders has suffered and has damages such as lost compensation and

benefits and emotional harm.

       112.     Plaintiff seeks only prospective and/or injunctive relief under §1981 and §1983

against Defendants Adams and Long in their official capacity, unless other relief if permitted by

law.

       113.     Plaintiff seeks all available damages including punitive damages against

Defendants Adams and Long in their personal capacity under §1981 and §1983 as their actions

were taken in reckless disregard for Plaintiff’s civil rights.

              THIRTEENTH THROUGH SIXTEENTH CLAIMS FOR RELIEF
               [Hostile Work Environment in Violation of 13) § 1981; 14) § 1983;
                               15) Title IX; and, 16) Title VII]

       114.     Plaintiff realleges and incorporates by reference all paragraphs set forth above.




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       115.     The University, by and through its administrators, acted under color of law with

respect to creating, maintaining and/or condoning a hostile work environment for Professor

Sanders based on her race and/or gender and/or in retaliation for her protected activities.

       116.     These actions and in actions were made and/or ratified by the Dean of the College

of Law.

       117.     The University acted with deliberate indifference toward its obligation to not

subject employees to a hostile work environment on the basis of race, gender and/or for retaliatory

reasons.

       118.     Professor Sanders was subjected to insulting, humiliating and/or discriminatory

conduct related to her gender or race. Such conduct was unwelcomed.

       119.     The discriminatory and hostile acts described here in were severe and/or pervasive

and altered Professor Sanders’ conditions of her employment making it more difficult for her to

do her job, take pride in her work and to desire to stay in her position.

       120.     Professor Sanders perceived the environment to be abusive or hostile.

       121.     A reasonable black woman in her circumstances would consider the environment

to be abusive or hostile.

       122.     The University is vicariously liable to the hostile environment created, maintained

and/or condoned by its supervisors including Dean Adams.

       123.     Professor Sanders has suffered and has damages such as emotional harm.

       124.     Plaintiff seeks only prospective and/or injunctive relief under §1981 and §1983

against Defendants Adams and Long in their official capacity, unless other relief if permitted by

law.




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       125.    Plaintiff seeks all available damages including punitive damages against

Defendants Adams and Long in their personal capacity under §1981 and §1983 as their actions

were taken in reckless disregard for Plaintiff’s civil rights.

          SEVENTEENTH THROUGH NINETEENTH CLAIMS FOR RELIEF
     [Retaliation in Violation of: 17) § 1981 via § 1983; 18) Title IX; and, 19) Title VII]

       126.    Plaintiff realleges and incorporates by reference all paragraphs set forth above.

       127.    The University, by and through its administrators, acted under color of law with

respect to the employment related decisions such as the promotion decision outlined herein.

       128.    Those decisions were made and/or ratified by the Dean of the College of Law.

       129.    The University acted with deliberate indifference toward its obligation to not

subject employees who engage in protected activity to adverse actions.

       130.    As early as July of 2014, Professor Sanders raised concerns about unequal

treatment, discrimination and bias. Since then, Professor Sanders has continued to raise concerns

about employment related decisions she suspected, in good faith, were discriminatory because of

race and/or gender. For example:

           a. At various times beginning after the fall of 2015 Professor Sanders spoke to the

               University Ombudsman about concerns of discrimination/retaliation;

           b. In June of 2017, Professor Sanders pointed out the lack of female leadership in

               response to the news that the Dean had found two white men willing to fulfill the

               role of Associate Deans, even though Professor Sanders had specifically indicated

               interest in doing the same;

           c. In March of 2018, Professor Sanders was interviewed as part of Human Resources

               Climate and Culture review;




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           d. In June of 2018, Professor Sanders filed a charge of discrimination with the Equal

               Employment Opportunity Commission.

       131.    In response to raising these concerns, she has been subjected to a pattern of

retaliatory behaviors including but not limited to the following:

           a. disparate treatment in the terms and conditions of her employment such as teaching

               assignments, denying her work related travel requests; accusing her of being

               dishonest about attendance to conferences; taking away travel funds; delaying her

               sabbatical by one year; assigning her to less attractive committees; denying her

               reimbursement for travel; questioning the use of the p-card on her behalf; focusing

               on negative versus positive feedback in her student reviews, chastising her to

               having received a course release;

           b. insults, demeaning behaviors, and, otherwise being subjected to hostile terms and

               conditions which negatively impacted her work atmosphere;

           c. being passed over for promotion, pay increases and summer stipends;

           d. demanding she teach certain content in her courses without regard to her academic

               freedom, and the by-laws of the College that vest the faculty with a right to vote on

               all decisions regarding curricular changes which must first proceed through the

               Curriculum Committee as further set forth below;

           e. accusing her of misdeeds including failing to hold office hours with students, failing

               to respond to student emails, and providing the student evaluations selectively;

               chastising her for communications related to the culture and climate issues at the

               law school; and accusing her of being insubordinate;




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            f. downgrading and failing to complete her 2019 performance review; providing her

               a negative 2020 review and two letters of reprimand.

       132.    There is a causal link between Professor Sanders’ protected activity and the adverse

actions, pattern of discrimination and harassment she has suffered.

       133.    Professor Sanders has suffered and has damages such as lost compensation and

benefits and emotional harm. Plaintiff seeks only prospective and/or injunctive relief under §1981

and §1983 against Defendants Adams and Long in his official capacity, unless other relief if

permitted by law.

       134.    Plaintiff seeks all available damages including punitive damages against

Defendants Adams and Long in their personal capacity under §1981 and §1983 as their actions

were taken in reckless disregard for Plaintiff’s civil rights.

          TWENTIETH CLAIM OF RELIEF AGAINST DEFENDANT LONG
(Violation of Academic Freedom in violation of the Constitution of the University Faculty,
                University Policy, and College of Law Bylaws and Policy)

       135.    Plaintiff realleges and incorporates by reference all paragraphs set forth above.

       136.    The Constitution of the University Faculty provides that faculty are charged with

the authority to create and approve courses of instruction and make/approve curricula decisions.

See Article IV Sec 3.

       137.    The Constitution also provides that the constituent faculty of each college is

authorized to establish its own curriculum in accordance with its bylaws. See Article I, Sec. 4,

clause A.

       138.    The College of Law Amended and Restated Bylaws, Procedures and Rules have

the following relevant provisions:




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           a. That to “ensure compliance . . .with the Articles of Association of the Association

               of American Law Schools and the American Bar Association Standards for

               Approval of the Law Schools” the law faculty must have “primary and substantial

               control of the education program of the law school.” See Art. I Sec. B.

           b. “The right of the Faculty to participate in the management of the affairs of the

               College of Law (College) is fully recognized. The right of the Faculty includes,

               without limitation, the right to vote on all major policy decision and the right to be

               consulted on all decisions affecting the affairs of the College. The affairs of the

               College include, without limitation, . . . curriculum . . ..” See Art. I Sec. C.

           c. “The Curriculum Committee shall lead curricular planning and development of

               proposals for curricular change, shall provide a forum for investigation and

               discussion of innovation in teaching, and shall consider any proposals for changes

               to the curriculum developed independently of the Committee.” See Art. II, Sec.

               G.6.b.

           d. “The curriculum of the College shall consist of such courses as may be designated

               by the Faculty. The adding or dropping of courses . . . require Faculty approval.”

               See Art. XI, Sec. A.

           e. The Curriculum Committee is “charges with continuing examination of the

               curriculum with a view to initiating and recommending improvements and changes

               and with the study of all suggested changes.” See Art. XI, Sec. B.

       139.    The University Policy on Academic Freedom, Rights and Responsibility states the

following: “Teachers are entitled to freedom in the classroom in discussing their subjects, but they




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should be careful not to introduce into their teaching controversial matter that is unrelated to their

subjects.” See Policy 3160 at B-2.

       140.    In 2011, the College of Law went through the process to successfully modify the

course description for Constitutional Law II to remove specific reference to substantive areas

including “freedom of speech and religion under the First Amendment.” The rationale provided to

the University Curriculum Committee for this change included: “the substantive material removed

from the course description was unnecessarily detailed and tied the faculty to teach particular

constitutional provisions and statutory material.”

       141.    The following year, Professor Sanders was successful in gaining approval to add a

3 credit course titled Freedom of Speech and the Press, which was part of the teaching package

she was hired to cover. The rationale provided to the University Curriculum Committee included

that teaching these subjects in the current constitutional law course was impractical.

       142.    In 2014, Professor Sanders was successful in gaining approval to change the

Freedom of Speech and Press course to one that covered the full spectrum of First Amendment

rights – a First Amendment Seminar, and to make this a permanent course offered. The reason

Professor Sanders lobbied for this change was because she found it nearly impossible to teach the

religious establishment and free exercise clauses segregated from the other First Amendment

principles, so she wanted to combine them into on comprehensive course in order to provide the

students with a better understanding of the legal concepts. When presenting this change for faculty

approval, she also explained that there was insufficient time in the Constitutional Law courses to

cover First Amendment in depth if at all. Another Professor expressed the possibility that First

Amendment concepts could be encompassed within Constitutional Law I.




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       143.    For each of these changes, the College followed the process outlined in its Bylaws

including vetting these changes through the Curriculum Committee and presenting them to the

faculty as a whole, and then presenting them to the University Curriculum Committee for final

approval.

       144.    In early 2019, Dean Long asked the Curriculum Committee to do a comprehensive

review of how bar-tested subjects are covered across all three years of curriculum, with the goal

of trying to increase efficiency and consistency.

       145.    At or near this same time, during Professor Sanders’ 2018 performance review,

Dean Long expressed his opinion that First Amendment should be covered in Constitutional Law

II. Professor Sanders raised several issues with this request including how the decision could affect

enrollment in the First Amendment Seminar, whether her course was being singled out when there

were other stand alone courses on bar tested subjects that might be incorporated into required

courses, and what subjects should be removed in order to accommodate First Amendment.

Professor Sanders did not receive a response to these concerns.

       146.    Nothing more was discussed regarding this topic until August 26, 2019, when

Professor Sanders again raised concerns to Dean Long about how adding First Amendment topics

would impede her from covering other topics including equal protection issues on race and gender.

The only mandatory law school course that discusses the Fourteenth Amendment Equal Protection

Clause and its protection of race, gender and fundamental rights is Constitutional Law II. She also

referenced the history above regarding changing the description for Constitutional Law II and

adding First Amendment Seminar, and she opined that it should be the faculty to make substantive

changes that would require her to skip coverage on race and gender equal protection cases. She

welcomed a discussion on the topic at a faculty meeting.



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       147.    Dean Long responded that he expected Professor Sanders to include First

Amendment in Constitutional Law II course. When Professor Sanders again indicated that the

decision needed to be vetted by the faculty, the Dean indicated that he would ask the Curriculum

Committee to look at the issue, but it did not change his expectation that she would follow his

directive in the meantime.

       148.    Dean Long never responded to her legitimate questions and concerns about how his

demand would impact the course, and in fact, did not address this issue with Professor Sanders

further until it was in the context of her 2019 performance review. In fact, he never asked Professor

Sanders if she had taught any First Amendment subjects as part of her Constitutional Law II course.

       149.    During the performance review meeting on February 25, 2020, Dean Long told

Professor Sanders that he had the discretionary authority to dictate the content of any and all

courses. Professor Sanders performance was rated as not meeting expectations in her 2019 review

because she failed to follow the Dean’s directive about what topics to teach in Constitutional Law

II.

       150.    Dean Long’s actions in dictating what topics must be taught in Professor Sanders’

Constitutional Law II curriculum violated her right to academic freedom and recognition of shared

governance vested in the faculty as set forth in the above documents and policies of the University

and the College of Law.

       151.    Professor Sanders has been damaged by this breach in that her performance

evaluation was downgraded and her professional reputation has been tarnished. This could have

continuing impacts on her pay, promotional and other professional opportunities.

       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her favor

and against Defendants, and award the following relief:



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a.     Back pay, in amounts to be determined at trial;

b.     Compensatory and consequential damages;

c.     Front pay;

d.     Injunctive and/or declaratory relief;

e.     Prospective relief;

f.     Punitive damages;

g.     Pre-judgment and post-judgment interest at the highest lawful rate;

h.     Attorneys’ fees and costs of this action, including expert witness fees, as

       appropriate; and

i.     Any such further relief as justice allows.

PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.

Dated this 10th day of November, 2021.

                                      STRINDBERG SCHOLNICK BIRCH
                                      HALLAM HARSTAD THORNE

                                      /s/ Erika Birch
                                      Erika Birch
                                      Guy Hallam
                                      Attorneys for Plaintiff




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